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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                     8:13CR42

       vs.
                                                                        ORDER
VIRGILIO ROMAN-CHAIDEZ,

                       Defendants.


This matter is before the court on defendant's MOTION FOR EXTENSION OF TIME TO FILE
PRETRIAL MOTIONS [44]. For good cause shown, I find that the motion should be granted.
The defendant will be given an approximate 60-day extension. Pretrial Motions shall be filed by
September 17, 2013.


       IT IS ORDERED:


       1.      Defendant's MOTION FOR EXTENSION OF TIME TO FILE PRETRIAL
MOTIONS [44] is granted. Pretrial motions shall be filed on or before September 17, 2013.


       2.      The defendant is ordered to file the affidavit required by NECrimR 12.1(a)
regarding speedy trial as soon as practicable.


       3.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between July 19, 2013 and September 17, 2013, shall
be deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason defendant's counsel required additional time to adequately prepare the
case, taking into consideration due diligence of counsel, and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).
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       4.      The trial date of September 3, 2013 is cancelled and will be rescheduled by
further order of the Court.




       Dated this 29th day of July, 2013.

                                                  BY THE COURT:
                                                  s/ F.A. Gossett, III
                                                  United States Magistrate Judge




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